
67 So.3d 306 (2011)
Randy Lavern SPENCER, Petitioner,
v.
Steven PACE, Probation Officer of Florida Department of Corrections; Florida Parole Commission, Respondents.
No. 1D10-6303.
District Court of Appeal of Florida, First District.
April 14, 2011.
Rehearing Denied August 24, 2011.
Randy Lavern Spencer, pro se, Petitioner.
Sarah J. Rumph, General Counsel, Florida Parole Commission, Tallahassee, for Respondent Florida Parole Commission; Jennifer Parker, General Counsel, Florida Department of Corrections, and Holly N. Simcox, Assistant General Counsel, Tallahassee, for Respondent Edwin G. Buss, Secretary, Florida Department of Corrections.
*307 PER CURIAM.
The petition for writ of mandamus is granted. Within 30 days, the circuit court shall either enter an order denying relief, or if it determines that the pending petition for writ of habeas corpus states a prima facie claim, shall issue an order to show cause why relief should not be granted. Because we are confident that the circuit court will comply with this directive, we withhold formal issuance of the writ.
WOLF, WEBSTER, and ROBERTS, JJ., concur.
